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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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       Case 4:19-cv-07123-PJH           Document 530        Filed 01/16/25     Page 2 of 3




 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. move the Court to consider whether

 4   Exhibit F to the Declaration of Micah G. Block in Support of Plaintiffs’ Notice Motion and Motion

 5   to Exclude the Expert Testimony of Terrence McGraw should be sealed. 1 Exhibit F to the Block

 6   Declaration is the report of Plaintiffs’ technical expert, David Youssef (the “Youssef Report”).

 7          The Youssef Report contains references to documents that Defendants NSO Group Technol-

 8   ogies Limited and Q Cyber Technologies Limited have designated as confidential pursuant to the

 9   Stipulated Protective Order (Dkt. No. 132) in the above-captioned action. Defendants have also

10   sought leave to file the Youssef Report under seal. See Dkt. No. 511 at 2–3.

11          Accordingly, Plaintiffs now move the Court to consider whether Exhibit F should be sealed.

12   See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs reserve the right to challenge any confidentiality desig-

13   nations as well as the sealability of Exhibit F.

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               This is a supplementary motion relating to Exhibit F only. Plaintiffs previously filed an
26   Administrative Motion To Consider Whether Another Party’s Material Should Be Filed Under Seal
     in relation to portions of Plaintiffs’ Notice Motion and Motion to Exclude the Expert Testimony of
27   Terrence McGraw and Exhibits A through E to the supporting Declaration of Micah G. Block. Dkt
     No. 513.
28
                                                        1
     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH        Document 530          Filed 01/16/25    Page 3 of 3




 1    Dated: January 16, 2025                    Respectfully Submitted,

 2
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 4                                               By: /s/ Micah G. Block
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19                                                       Attorneys for Plaintiffs WhatsApp LLC and
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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
